       Case 20-13275-amc                 Doc 42        Filed 09/04/20 Entered 09/04/20 15:24:10                                 Desc Main
                                                       Document     Page 1 of 1

 Fill in this information to identify the case:
 Debtor name         Industrial Food Truck, LLC

 United States Bankruptcy Court for the: EASTERN DIST. OF PENNSYLVANIA

 Case number         20-13275AMC11v                           Chapter      11                                      Check if this is an
 (if known)                                                                                                        amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                             12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
          (Official Form 206A/B).

2.    List all contracts and unexpired leases                                           State the name and mailing address for all other
                                                                                        parties with whom the debtor has an executory
                                                                                        contract or unexpired lease

2.1       State what the contract       40 IHIGH CUBE REEFER AND 20                     PORTABLES 360
          or lease is for and the       REEFER CONTAINER-TRASH                          15 BROOKWOOD LANE
          nature of the debtor's        Contract to be ASSUMED
          interest

          State the term remaining
          List the contract
                                                                                       WESTON                              CT            06883
          number of any
          government contract

2.2       State what the contract       equipment purchase                              Baldwin Services Group
          or lease is for and the       Contract to be ASSUMED                          810 B Oak PL
          nature of the debtor's
          interest

          State the term remaining
          List the contract
                                                                                       pORT oRANGE                         FL            32127
          number of any
          government contract

2.3       State what the contract       FACILITY LEASE -BUSINESS                        Grays Realty LLC
          or lease is for and the       LOCATION                                        42 W 39th Street
          nature of the debtor's        PLUS ADD'L EXPENSES
          interest                      Contract to be ASSUMED
          State the term remaining      1 mo. then 2 5 year options
          List the contract
          number of any
                                                                                       NY                                  NY            10018
          government contract

2.4       State what the contract       leased dishwasher AFC12502                      Termac Corporation
          or lease is for and the       Contract to be ASSUMED                          7880 Tulip Street
          nature of the debtor's
          interest

          State the term remaining
          List the contract
          number of any
                                                                                       Philadelphia                        PA            19186
          government contract




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                                 page 1
